
666 S.E.2d 119 (2008)
Mary E. FULMORE, Administrator of the Estate of Priscilla Ann Maultsby, Plaintiff
v.
Gregory HOWELL and PFS Distribution Company, Inc., Defendants/Third-Party Plaintiff
v.
Ina Loftin Harper, Third-Party Defendant.
No. 526P07-2.
Supreme Court of North Carolina.
August 26, 2008.
Charles F. Hilton, Thomas E. Ullrich, Harrisonburg, VA, Paul A. Daniels, Greensboro, for Howell &amp; PFS Distribution Co.
Joretta Durant, Shean Williams, Atlanta, GA, Hezakiah Sistrunk, Jr., for Fulmore.
Stuart L. Stroud, Kinston, for Harper.
Prior report: ___ N.C.App. ___, 657 S.E.2d 437.

ORDER
Upon consideration of the petition filed on the 4th day of April 2008 by Defendants (Howell and PFS Distribution) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
